 .!!!!J!!1 UNITED ST/JTES
/Jfili,USDC      IN/ND case 3:23-cv-00967-DRL-MGG document 8-2 filed 02/01/24 page 1 of 1
          POST/JL SERVICE


January 2, 2024

Dear Chris John Bosch:

The following is in response to your request for proof of delivery on your item with the tracking number:
9514 8067 1361 3322 2840 25.

Item Details

Status:                                                 Delivered, Individual Picked Up at Post Office
Status Date / Time:                                     December 12, 2023, 4:54 pm
Location:                                               ELKHART, IN 46516
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Name:                                         BRIAN DICKERSON
Shipment Details

Weight:                                                 9.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
